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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                                WAYCROSS DIVISION

BRANTLEY COUNTY DEVELOPMENT                      :
PARTNERS, LLC,                                   :
                                                 :
       Plaintiff,                                :
                                                 :
v.                                               :    CASE NO. 5:19-CV-00109
                                                 :
BRANTLEY COUNTY, GEORGIA by and                  :
through its Chairman and Members of the          :
Brantley County Board of Commissioners;          :
CHRIS “SKIPPER” HARRIS, RANDY                    :
DAVIDSON, BRIAN HENDRIX, JESSE                   :
MOBLEY AND RAY GRIFFIN, all in their             :
individual and official capacities as            :
Commissioners,                                   :
                                                 :
        Defendants.                              :


  PLAINTIFF’S NOTICE OF WITHDRAWAL OF MOTION FOR ORDER TO SHOW
    CAUSE WHY DEFENDANTS SHOULD NOT BE HELD IN CIVIL CONTEMPT

       Plaintiff BRANTLEY COUNTY DEVELOPMENT PARTNERS, LLC (hereinafter,

“BCDP” or “Plaintiff”) hereby files this Withdrawal of its Motion for an Order to Show Cause

Why Defendants Should Not Be Held in Civil Contempt, filed on October 14, 2021 (Doc. 145).

This Withdrawal Notice is filed without prejudice to Plaintiff’s other pending motions. Plaintiff

submits this Withdrawal based on Defendants’ November 4, 2021 issuance of the reaffirmation

letter of zoning consistency to EPD required by Ga. Comp. R. & Regs. 391-3-4-.05(1)(a), as

ordered by this Court on May 14, 2021 (Doc. 114). (See Doc. 152 at 2 (“The letter meets the

requirements of Ga. Comp. R. & Regs. 391-3-4-.05(1)(a).”); see also Doc. 153).


       RESPECTFULLY SUBMITTED, this 12th day of November, 2021.
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                              Development Partners, LLC


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                                CERTIFICATE OF SERVICE

       This is to certify that I have this day served a copy of the foregoing pleading via electronic

service through the e-filing system and by placing a copy of same in the United States Mail,

properly addressed with adequate postage thereon upon:

                                         Dana K. Maine
                                       Rachael Slimmon
                                 Freeman Mathis & Gary, LLP
                                100 Galleria Parkway, Suite 1600
                                    Atlanta, Georgia 30339


       This 12th day of November, 2021.



                                                     /s/ Mark D. Johnson
                                                     Mark D. Johnson




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